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                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  PLANNED PARENTHOOD OF THE
  GREAT NORTHWEST AND THE                      Case No. 1:18-CV-00555-BLW
  HAWAIIAN ISLANDS, et al.,

                       Plaintiff,             SCHEDULING ORDER
                                              TRACK: (Expedited)
         v.

  LAWRENCE G. WASDEN, et al.,

                       Defendants.



      In accordance with the agreements reached in the telephone scheduling

conference held between counsel and Court staff on November 19, 2019, and to

further the just, speedy, and inexpensive determination of this matter,

      NOW THEREFORE IT IS HEREBY ORDERED that the following

recitation of deadlines and procedures will govern this litigation:




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1.      Dispositive Motion Deadline: All dispositive motions, including motions for

        punitive damages, must be filed by July 30, 2020.1

2.      Amendment of Pleadings and Joinder of Parties: Motions to amend pleadings

        and join parties, except for allegations of punitive damages, must be filed on

        or before December 2, 2019. This deadline will only be extended for good

        cause shown.2

3.      Alternative Dispute Resolution: The parties have chosen to participate in a

        judicially supervised settlement conference. ADR must be held by July 15,

        2020. Within seven (7) days of this Order, the parties are directed to contact

        Emily Donnellan, the ADR Administrator, at adr@id.uscourts.gov, so that

        she may assign a settlement conference judge and schedule a date for the

        settlement conference. Please ensure that all emails directed to

        adr@id.uscourts.gov contain the case number and title in the email subject

        line.



        1
           It is this Court's policy to accept only one (1) motion to dismiss and one summary judgment
motion per party. If it appears, due to the complexity or numerosity of issues presented, that counsel is
unable to address all issues within the twenty-page (20) limit for briefs, Dist. Idaho Loc. R. 7.1(b)(1), then
it is appropriate to file a motion for permission to file an overlength brief, rather than filing separate
motions for each issue. The Court prefers reviewing one over-length brief in support, one over-length
brief in response, and one 10-page reply brief, if any, rather than the panoply of briefs that are generated
when multiple motions are filed.
        2
          The Ninth Circuit has held that motions to amend filed after the Scheduling Order deadline are
governed, not by the liberal provisions of Fed. R. Civ. P. 15(a), but instead, by the more restrictive
provisions of Fed. R. Civ. P. 16(b) requiring a showing of “good cause.” Johnson v. Mammoth
Recreations, Inc., 975 F.2d 604 (9th Cir. 1992).

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4.   Discovery Plan: All discovery must be in accordance with the Federal Rules

     of Civil Procedure, the Local Rules for the District of Idaho, and the parties’

     joint discovery plan which is incorporated herein by reference.

5.   Clawback: Pursuant to Fed. R. Evid. 502(d), and Section VII(a) of the

     parties’ stipulated discovery plan, it is hereby ORDERED that production of

     a privileged or work-product-protected document, whether inadvertent or

     otherwise, is not a waiver of privilege or work-product protection in this

     case or in any other federal or state proceeding.

6.   Completion of Fact Discovery: All fact discovery must be completed by

     April 30, 2020. This is a deadline for the completion of all fact discovery; it

     is not a deadline for discovery requests. Discovery requests must be made

     far enough in advance of this deadline to allow completion of the discovery

     by the deadline date.

7.   Disclosure of Experts:

     a.    The Plaintiff must disclose the experts intended to be called at trial on

           or before April 15, 2020.

     b.    The Defendant must disclose the experts intended to be called at trial

           on or before May 15, 2020.

     c.    Plaintiff’s rebuttal experts must be identified on or before June 15,

           2020.

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      d.      ALL discovery relevant to experts must be completed by: June 29,

              2020.

8.    Scheduling of Trial and Pretrial Conference. Plaintiff’s counsel must

      contact courtroom deputy Jamie Bracke within one week following the

      entry of a decision on all pending dispositive motions to make arrangements

      for a telephonic trial setting conference with the Court to set pre-trial and

      trial deadlines. If no dispositive motion is filed, Plaintiff’s counsel must

      immediately contact the courtroom deputy within one week of the

      dispositive motion filing deadline to set a telephonic trial setting conference.

9.    Law Clerk: The law clerk assigned to this case is Anne Henderson, and

      may be reached at (208) 334-9363.

10.   Discovery Disputes:

           a. The I will not refer this case to a magistrate judge for resolution of

              discovery disputes and non-dispositive motions. I will keep these

              motions on my own docket.

           b. The parties will strictly comply with the meet and confer requirements

              of Local Rule 37.1 prior to filing any discovery motions.

      c.      Prior to filing any discovery motions, counsel must certify, not only

              that they have complied with Local Rule 37.1, but that they have

              complied with the Judge’s discovery dispute procedures.

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           d. In addition, I will not entertain any written discovery motions until the

              Court has been provided with an opportunity to informally mediate

              the parties’ dispute. To facilitate that mediation, the attorneys will

              first contact Anne Henderson, the law clerk assigned to this case, and

              shall provide Ms. Henderson with a brief written summary of the

              dispute and the parties’ respective positions. Ms. Henderson may be

              able to offer suggestions that will resolve the dispute without the need

              of my involvement. If necessary, an off-the-record telephonic

              conference with me will then be scheduled as soon as possible. I will

              seek to resolve the dispute during that conference and may enter

              appropriate orders on the basis of the conference. I will only

              authorize the filing of a discovery motion and written briefing if we

              are unable to resolve the dispute during the conference.

      e.      Prior to filing any discovery motions, counsel must certify, not only

              that they have complied with Local Rule 37.1, but that they have

              complied with the foregoing procedures.

11.   The Court will conduct telephonic status conferences with the parties. The

      Court will set those status conferences in a separate notice.




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12.   Calendaring Clerk: Scheduling matters and calendar issues may be directed

      to Jamie Bracke, who may be reached at (208) 334-9021. If reassigned,

      consult Judges’ web page for staff directory.

13.   Docketing Clerk: If you have a docketing question, please contact a docket

      clerk3 at (208) 334-1361.

                                                                     DATED: November 19, 2019


                                                                     75.�w�
                                                                     B. Lynn Winmill
                                                                     United States District Judge




      3
       The Clerk’s office staff directory may be found on the Court’s webpage:
      http://id.uscourts.gov/district/attorneys/DocketingCourtroom_Dep.cfm



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